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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA

v.                                        Case No. 1:21-cr-0509 (TSC)

ANTONY VO,

                   Defendant.




     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
     DEFENDANT’S SECOND MOTION TO DISMISS COUNT IV OF THE
      INFORMATION BASED ON A FACIAL CHALLENGE TO 40 U.S.C.
                         §§5104(e)(2)(G)


Dated: June 29, 2022

                                         Respectfully submitted,

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                                   BACKGROUND

      On August 5, 2021, an Information was filed in the above case charging Mr.

Vo with violating 18 U.S.C.§§1752(a)(1) and (2) and 40 U.S.C. §§5104(e)(2)(D) and

(G). ECF 8. This matter is currently scheduled for trial on November 9, 2022.

Minute Entry April 27, 2022.


      Mr. Vo, separately, today, also files a motion to dismiss the Information,

including with respect to Count Four regarding 40 U.S.C. § 5104(e)(2)(G) on

numerous grounds. One of those grounds is that application of 40 U.S.C. §

5104(e)(2)(G) to the alleged conduct of Mr. Vo violates the First and Fifth

Amendment of the U.S. Constitution. The instant motion challenges 40 U.S.C. §

5104(e)(2)(G) on the face of the provision (also in the context of related provisions)

as failing the First and Fifth Amendment. In addition to seeking such a finding

from the Court Mr. Vo requests that Count IV of the Information be dismissed on

the basis of such finding.


           OVERVIEW OF RELEVANT STATUTORY PROVISIONS


      40 USC §5104(e)(2)(G) is part of a sequence of statutory provisions

concerning potentially unlawful activity on the Capitol Grounds and, in some

circumstances, in locations in Capitol Buildings. Different provisions of 40 USC

§5104 have different location restrictions in terms of applicability. 40 USC §5104(c)

limits (1) articles for sale; (2) displaying a sign placard or other form of

advertisement; and (3) soliciting fares, alms or contributions on the Grounds. 40


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USC §5104(d) limits conduct to remove or injure architectural features or plants on

the Grounds. 40 USC §5104(d). 40 USC §5104(e)(2)(a)-(c) refer to specific rooms in

the Capitol Buildings. 40 USC §5104(e)(2)(a)-(c). 40 USC §5104(e)(2)(d)-(f) apply to

both the Grounds and any of the Capitol Buildings. However, 40 USC

§5104(e)(2)(G) applies only in any Capitol Building.


      Somewhat analogous language in 40 USC §5104(f), which also applies to the

Grounds, has been declared unconstitutional by several courts under the First and

Fifth Amendments. 40 USC §5104(f) states:


      (f) Parades, Assemblages, and Display of Flags.—Except as provided in
      section 5106 of this title, a person may not—

             (1) parade, stand, or move in processions or assemblages in the
             Grounds; or
             (2) display in the Grounds a flag, banner, or device designed or adapted
             to bring into public notice a party, organization, or movement.

As a comparison, 40 USC §5104(e)(2)(G) states: “An individual or group of

individuals may not willfully and knowingly—parade, demonstrate or picket in any

of the Capitol Buildings.


      There are also differences in the class of people subject to the provisions of 40

USC §5104. 40 USC §5104(a), (b), (c), (d) and (f) all apply to “a person.” On the

other hand, 40 USC §5104(e)(3) has an exemption from all of 40 USC §5104(e)

which states:


      (3) Exemption of government officials.—This subsection does not prohibit any
      act performed in the lawful discharge of official duties by—



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     (A) a Member of Congress;
     (B) an employee of a Member of Congress;
     (C) an officer or employee of Congress or a committee of Congress; or
     (D) an officer or employee of either House of Congress or a committee of that
House.

      As discussed further below, both 40 USC §5104(e)(2)(G) and (f) are expressly

defined by First Amendment activity. Whereas other provisions such as 40 USC

§5104(b), (d), and (e) limit activity without reference to First Amendment activity

terms. For example, 40 USC §5104(e)(2)(D)-(F) have restrictions stating an

individual or group of individuals may not:

      (D) utter loud, threatening, or abusive language, or engage in disorderly or
      disruptive conduct, at any place in the Grounds or in any of the Capitol
      Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
      a session of Congress or either House of Congress, or the orderly conduct in
      that building of a hearing before, or any deliberations of, a committee of
      Congress or either House of Congress;

      (E) obstruct, or impede passage through or within, the Grounds or any of the
      Capitol Buildings;

      (F) engage in an act of physical violence in the Grounds or any of the Capitol
      Buildings

Just looking at the text, 40 USC §5104(e)(2)(G) can cover a universe of conduct that

can run afoul of one or more of the provisions of 40 USC §5104(e)(2)(D)-(F) but may

or may not also a universe of conduct that does not run afoul of one or more of the

provisions of 40 USC §5104(e)(2)(D)-(F).


      40 USC §5104(e)(2)(G) prohibits three specific modes of First Amendment

activity—parading, demonstrating, and picketing. Other First Amendment activity




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that is not within the ambit of parading, demonstrating or picketing are not

prohibited.


      40 USC §5104(e)(2)(G) is a criminal provision and subject to penalties of up a

fine under title 18, imprisonment of not more than six months, or both. See 40 USC

§5109(b). Indeed, 40 USC §5109(b) makes an “attempt” to commit a violation of 40

USC §5104(e)(2)(G) subject to the same potential criminal sanctions. Moreover, 40

USC §5104(e)(2)(G) connects to 18 USC § 2 which provides:


      (a) Whoever commits an offense against the United States or aids, abets,
      counsels, commands, induces or procures its commission, is punishable as a
      principal.

      (b) Whoever willfully causes an act to be done which if directly performed by
      him or another would be an offense against the United States, is punishable
      as a principal.


                                   ARGUMENT


I.    Mr. Vo May Challenge 40 USC 5104(e)(2)(G) Both As-Applied and
      Facially

      As stated in Broadrick v. Oklahoma, 413 U.S. 601, 93 S. Ct. 2908 (1973):

      It has long been recognized that the First Amendment needs breathing space
      and that statutes attempting to restrict or burden the exercise of First
      Amendment rights must be narrowly drawn and represent a considered
      legislative judgment that a particular mode of expression has to give way to
      other compelling needs of society. Herndon v. Lowry, 301 U.S. 242, 258
      (1937); Shelton v. Tucker, 364 U.S. 479, 488 (1960); Grayned v. City of
      Rockford, 408 U.S. 104, 116-117 (1972). As a corollary, the Court has altered
      its traditional rules of standing to permit — in the First Amendment area —
      "attacks on overly broad statutes with no requirement that the person
      making the attack demonstrate that his own conduct could not be regulated
      by a statute drawn with the requisite narrow specificity." Dombrowski v.

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       Pfister, 380 U.S. 479, 486 (1965). Litigants, therefore, are permitted to
       challenge a statute not because their own right of free expression are
       violated, but because of a judicial prediction or assumption that the statute's
       very existence may cause others not before the court to refrain from
       constitutionally protected speech or expression.

II.    Summary of the Facial Challenge


       With to respect the facial challenge, Mr. Vo argues not only his fact pattern

but also addresses additional areas of Capitol Buildings, such as hallways in the

House and Senate Office Buildings and other areas that are neither committee or

hearing rooms nor the House or Senate floors. Mr. Vo argues the provision

tramples on all peaceful and orderly activities that could, nonetheless, fall under

the three modes of First Amendment expression set out under 40 USC

§5104(e)(2)(G). Mr. Vo argues the additional problems created by the confusing

connection of 40 USC §5104(e)(2)(G) to the provision stating that “attempting” to

parade, demonstrate or picket in any of the Capitol Buildings is a crime. Mr. Vo

argues the connection of 40 USC §5104(e)(2)(G) to the aiding and abetting statute to

this range of First Amendment activity and circumstances further exacerbates the

constitutional issues. Mr. Vo further argues the connection of 40 USC §5104(e)(2)(G)

to the exclusion in 40 USC §5104(e)(3) creating a two-tiered set of circumstances for

First Amendment purposes. Mr. Vo claims all of these permutations under criminal

law amplify the fundamental problems of overbreadth under the First Amendment

and constitutional overbreadth, vagueness, under the Fifth Amendment.


III.   40 USC §5104(e)(2)(G) Fails the First and Fifth Amendment to the
       U.S. Constitution


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      A. 40 USC §5104(e)(2)(G) Directly and Solely Addresses First
         Amendment Protected Conduct

   As stated in Houston v. Hill, 482 U.S. 451, 107 S. Ct. 2502 (1987):

   Instead, "[i]n a facial challenge to the overbreadth and vagueness of a law, a
   court's first task is to determine whether the enactment reaches a substantial
   amount of constitutionally protected conduct." Hoffman Estates v. The Flipside,
   Hoffman Estates, Inc., 455 U.S. 489, 494 (1982); Kolender v. Lawson, 461 U.S.
   352, 359, n. 8 (1983). Criminal statutes must be scrutinized with particular care,
   e.g., Winters v. New York, 333 U.S. 507, 515 (1948); those that make unlawful a
   substantial amount of constitutionally protected conduct may be held facially
   invalid even if they also have legitimate application. E. g., Kolender, supra, at
   359, n. 8.

      By its own terms 40 USC §5104(e)(2)(G) addresses three modes of First

Amendment Activity -- parading, demonstrating and picketing. The Court in

Bynum v. United States Capitol Police Board, 93 F. Supp. 2d 50 (D.D.C. 2000) found

regulations purporting to implement 40 USC §5104(e)(2)(G) to violate the First

Amendment and Due Process. With respect to the First Amendment the Bynum

Court states:

      The Court, however, cannot conclude that the regulation is reasonable in
      light of the purposes it could legitimately serve. While the regulation is
      justified by the need expressed in the statute to prevent disruptive conduct in
      the Capitol, it sweeps too broadly by inviting the Capitol Police to restrict
      behavior that is in no way disruptive, such as “speechmaking… or other
      expressive conduct…” Traffic Regulations for the Capital Grounds §158.
      Because the regulations proscriptions are not limited to the legitimate
      purposes set forth in the statue, it is an unreasonable and therefore an
      unconstitutional restriction on speech. …Id. at 57 (Citations omitted)


With respect to Due Process and unconstitutional vagueness, the Bynum Court
states:

      In fact, the definition of “demonstration” in the regulation encompassing all
      expressive conduct, whether disruptive or not appears to expand the
      restrictive powers given by the statute to the Capitol Police rather than limit
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      or guide them. This definitional “guidepost” thus has the potential to squelch
      nearly any type of expressive conduct, whether or not it is actually a
      demonstration, and may sweep within its scope expression that is protected
      by the First Amendment. The regulation therefore is both unconstitutionally
      overbroad and unconstitutionally vague. Id. at 58.

See also Lederman v. U.S., 291 F.3d 36 (D.C. Cir. 2002) (reviewing facial First

Amendment challenge to a regulatory prohibition on demonstration activities

outside Capitol building). As stated in Lederman,


      We hold only that, as currently written, the demonstration ban imposes "a
      serious loss to speech . . . for a disproportionately small governmental gain,"
      Citing White House Vigil for the ERA Comm. v. Clark, 746 F.2d 1518, 1544
      (D.C. Cir. 1984)(Wald, J. concurring in the judgement in part and dissenting
      in part on other grounds). Lederman at 46.

      In Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575

(D.D.C. 1972) (affirmed 409 U.S. 972 1972), the Court held a blanket statutory

prohibition on parades, assemblages or processions on Capitol Grounds is

unconstitutional. See also Gregory v. Chicago, 394 U.S. 111, 89 S. Ct. 946 (1969)

(where the Supreme Court reviewed a protest march aimed at the Chicago city

government and held that as long as marches are “peaceful and orderly” they are

protected by the First Amendment.); Edwards v. South Carolina, 372 U.S. 229, 83

S. Ct. 680 (1963); Carey v. Brown, 447 U.S. 455, 100 S. Ct. 2286 (1980); Police

Department of Chicago v. Mosley, 408 U.S. 92, 92 S. Ct. 2286 (1972); and Thornhill

v. Alabama, 310 U.S. 88, 60 S. Ct. 736 (1940).


      B. The Court Should Not Adopt and Should, Instead, Revisit Certain
         Findings in Bynum To Find 40 USC §5104(e)(2)(G) Violates the
         First and Fifth Amendments




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      The main holding in Bynum was that broad regulations purporting to

implement 40 USC §5104(e)(2)(G) violated the First Amendment and Due Process.

As part of its analysis, the Bynum Court stated:


      Indeed, the regulation goes beyond what Congress intended and permits the
      Capitol Police to block activity not proscribed or intended to be proscribed by
      the statute Congress enacted. The statute prohibits loud, threatening or
      abusive language; any disorderly or disruptive conduct engaged in with the
      intent to impede, disrupt or disturb the orderly conduct of any session of
      Congress or a congressional hearing or committee meeting; any behavior that
      obstructs or impedes passage through or within the Capitol or any of its
      buildings or grounds; physical violence; and parades and picketing. 40 U.S.C.
      § 193f(b) (4)-(7).[5] When viewed in the context of these other various forms of
      statutorily prohibited behavior, Congress' statutory prohibition against
      "demonstrat[ing]" appears aimed at controlling only such conduct that would
      disrupt the orderly business of Congress not activities such as quiet praying,
      accompanied by bowed heads and folded hands. The police could properly use
      the statutory standards of Section 193f(b) itself to control, for example,
      groups of people praying in a way that impeded or obstructed passageways,
      hearings or meetings, involved loud, threatening or abusive language or
      physical violence, or was otherwise disorderly or disruptive. Plaintiff's
      activity was none of these. Bynum at 57-58.

Given the Constitutional issues, Mr. Vo agrees that the Bynum court properly found

the regulations overly broad AND that courts should construe 40 USC

§5104(e)(2)(G) narrowly to apply to only such parading, demonstration, or picketing

that would disrupt the orderly business of Congress.


      However, Mr. Vo does not believe those points are inconsistent with his facial

challenge. Moreover, Mr. Vo disagrees with two aspects of the Bynum court

analysis. First, Mr. Vo disagrees with the analysis that all areas of any Capitol

Building constitute a non-public forum. Second, Mr. Vo disagrees with the below

finding by the Bynum court:



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      The Court finds that Section 193f(b) enacted by Congress is a viewpoint
      neutral, reasonable regulation of both conduct and expressive activity that
      satisfies the Supreme Court's test for nonpublic forum.

The vast bulk of Bynum is critical of the regulations and 40 USC §5104(e)(2)(G)

should carry most of the same criticisms and more. Bynum was not a facial

challenge of the statute but rather a challenge that the United States Capitol Police

prohibited an individual from praying in the United States Capitol in violation of

the Free Speech and Free Exercise Clauses of the First Amendment, the Due

Process Clause of the Fifth Amendment, and the Religious Freedom Restoration

Act, 42 U.S.C. § 2000bb. Here, Mr. Vo brings a broad facial challenge in addition to

his as-applied challenge. Moreover, at the time of Bynum, the circumstances were

quite different. There was limited record and few cases. The recent spate of

convictions by settlement agreement under 40 USC §5104(e)(2)(G) and charges

connected with January 6, 2021, has raised the issue of the constitutional problems

with 40 USC §5104(e)(2)(G) in a manner never previously observed. Moreover, the

number of permutations provided by technology that might qualify as a

“demonstration” is greater, creating more ambiguity, vagueness, and opportunities

for selective enforcement. Accordingly, Mr. Vo asks this court to review these

issues in light of these developments to find that 40 USC §5104(e)(2)(G) violates the

First and Fifth Amendments.


      C. The Hallways, Foyers and other Publicly Accessible Areas of the
         Capitol Buildings Are Traditionally Robust with First Amendment
         Activity and any Prohibitions or Enforcement Should Be Reviewed
         Under the Public Forum Standards



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      The degree of First Amendment scrutiny accorded to governmental decisions

limiting speech on public property depends on whether the property in question is

(1) a traditional public forum, (2) a government-designated public forum, or (3) a

non-public forum. See Perry Education Ass'n. v. Perry Local Educators' Ass'n., 460

U.S. 37, 45 (1983). Restrictions on speech in either category of public forum must be

"reasonable time, place, and manner regulations" that are "content-neutral, are

narrowly tailored to serve a significant government interest, and leave open ample

alternative channels for communication." Id. Speech restrictions in non-public

forums, on the other hand, are permissible "so long as the distinctions drawn are

reasonable in light of the purpose served by the forum and are viewpoint neutral."

Cornelius v. NAACP Legal Defense Educ. Fund, Inc., 473 U.S. 788, 806 (1985). The

public forum analysis was created to recognize that the government must be able to

limit the use of its property to the intended purpose for which the property was

created. Id. at 800. See also Adderley v. Florida, 385 U.S. 39, 48 (1966); see, e.g.,

Perry at 53 (to limit access to those rightfully conducting business there).


      Mr. Vo argues that 40 U.S.C. § 5104(g) does not survive constitutional muster

regardless of whether all areas of Capitol Buildings are non-public forums or

whether certain areas of the Capitol Buildings are public forums. Here Mr. Vo

argues that substantial areas of Capital Buildings are public forums and the

highest standard of scrutiny for prohibition of peaceful and non-disruptive First

Amendment activity should apply in such areas. The Bynum court’s analysis that




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the entirety of the Capitol Buildings are non-public forums is neither sufficient nor

correct. The Bynum court claims:


      [t]here has been a ban on demonstrations inside the Capitol since 1946 when
      Congress decreed: "It shall be unlawful for any person or group of persons
      willfully and knowingly ... to parade, demonstrate, or picket within any of the
      Capitol Buildings." 40 U.S.C. § 193f(b) (7).

While the point may not be substantial, that statutory language came to exist in

1967 not 1946. It is the Bynum court that made the argument about longevity of the

rule as a factor for consideration on whether the Capitol Buildings were public

forums. Regardless, Lederman undercuts a key pillar of the Bynum logic.


      To begin with, the sidewalk has never been available for public expression
      primarily because, for almost a century, such expression was prohibited
      anywhere on the Capitol Grounds by the very statute declared
      unconstitutional in Jeannette Rankin Brigade. 342 F. Supp at 587-588. If
      "time, place, or manner restrictions can[not] bootstrap themselves into
      validity by their mere existence, even if prolonged," Henderson v. Lujan, 964
      F.2d 1179, 1183 (D.C. Cir. 1992) (emphasis added), then unconstitutional
      restrictions certainly cannot, by their mere existence, bootstrap subsequent
      restrictions into validity.

Compare this to the logic of Bynum:

      To that end, Congress enacted the statute at issue here so that citizens would
      be "assured of the rights of freedom of expression and of assembly and the
      right to petition their Government," without extending to a minority "a
      license ... to delay, impede, or otherwise disrupt the orderly processes of the
      legislature which represents all Americans." H. REP. NO. 90-745 at 2,
      reprinted in 1967 U.S.C.C.A.N. 1739, 1740. The type of controls that
      Congress legitimately may use to regulate the manner in which ideas are
      expressed inside the Capitol therefore excludes its classification as a
      traditional public forum.




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Under Lederman, the kind of logic described in Bynum is circular. Bynum claims

the Capitol Building must be a non-public forum because Congress has prohibited

three modes of First Amendment expression in the Capitol Buildings. However, the

question is not the authority of Congress to regulate First Amendment activity but

rather the standards of review for such regulations.


       Over the last two years, COVID and the events of January 6, 2021, have

changed how people can access Senate and House buildings. Currently, lobbyists

may conduct in-person meetings on Capitol Hill, so long as a congressional aide

signs them in and escorts them around the buildings. Mr. Vo does not take issue

with security or health precautions that affect what might happen at these

buildings. Such precautions are not based on 40 USC §5104(e)(2)(G). Rather Mr.

Vo refers to the situation before COVID, and, hopefully, the relatively more normal

situation that would return in describing the nature of the hallways, foyers and

other publicly accessible areas. For years and years, the lobbies and halls of these

buildings were robust with First Amendment activity. 1 In the modern era, this


       1
          https://rollcall.com/2022/03/04/lobbyists-urge-lawmakers-to-let-them-roam-the-capitol-
again/ As stated by lobbyist Cesar Conda in this article “Once you had your meeting, lobbyists
could roam around the Capitol all day to buttonhole members and staff…” It should be open to
tourists, advocacy groups, lobbyists, the way it was pre-pandemic.
https://rollcall.com/2022/03/07/as-200-groups-seek-access-talks-underway-to-reopen-hill-
buildings/. Miller said the effort wasn’t only about lobbyists. “This is about every citizen in this
country having the right to petition their government,” he said. “This is about every kid who
missed an opportunity through their school field trips to come here and see government in action.
This is about every constituent who travels here with their family to meet with their elected
officials. This is about every person who participates in their annual fly-in event.” Moreover, the
general rule is that videotaping and audio recording are permitted in the public areas of the
House and Senate office buildings. https://radiotv.house.gov/for-gallery-members/rules-for-
electronic-media-coverage-of-congress

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properly provides many First Amendment social media opportunities. It certainly

would be a broad First Amendment issue, if such opportunities were considered

part of prohibited “demonstrations”.


      In Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575

(D.D.C. 1972), the court states:


      The Capitol Grounds (excluding such places as the Senate and House floors,
      committee rooms, etc.) have traditionally been open to the public; indeed,
      thousands of people visit them each year. Thus, we cannot agree with the
      defendants that the Capitol Grounds have ever been characterized by the
      serenity and quiet of a hospital or library.


While the Jeannette Rankin Brigade court was reviewing an issue concerning the

Capitol Grounds, the stated exclusions of the Senate and House floors and

committee rooms is more consistent with the public availability issues. In any

event, the Jeannette Ranking Brigade court did not specifically opine on areas of

Capitol Buildings that were not the Senate and House floors or committee rooms.

      Accordingly, Mr. Vo argues that the higher standards of the public forum

analysis should apply to the hallways, foyers, and other public areas of the Capitol

Buildings.


      D. Regardless of Which First Amendment Standards Apply 40 USC
         §5104(e)(2)(G) Facially Fails Constitutional Muster Under the First
         and Fifth Amendments




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      Congress can regulate the conduct of individuals and groups in the Capitol

Buildings to ensure such conduct does not disrupt Congressional activities and

protects personnel, visitors, property and buildings. The fundamental

constitutional problems with 40 USC §5104(e)(2)(G) fall into several categories.

First, 40 USC §5104(e)(2)(G) can be read to punish conduct falling under the three

modes of First Amendment Expression in a greater manner than similarly

disruptive or unwanted conduct. A loud, disobedient, or otherwise disruptive set of

individuals is a legitimate problem regardless of whether such conduct constitutes a

demonstration. Second, 40 USC §5104(e)(2)(G) impermissibly punishes the non-

Congressional employee class for the same demonstration conduct permitted by the

Congressional employees in the same public locations in the Capitol Buildings.

Third, the language of 40 USC §5104(e)(2)(G), in the modern context, is impossibly

vague and cannot inform citizens of the rules of conduct. The language lacks fair

notice as to its scope and leads to arbitrary enforcement.


      1. There is No Valid Reason for First Amendment Modes of Expression to Be
         Criminally Punished Ahead of Similar Non-First Amendment Activity
         That Poses the Same Risk

      Mr. Vo does not argue that the First or Fifth Amendments require exceptions

to general rules of crowd management in the Capitol Buildings. Rather, Mr. Vo

argues that the Constitution does not permit Congress to criminally punish First

Amendment conduct simply because it is First Amendment conduct – which is

exactly how 40 USC §5104(e)(2)(G) is written. For example, if 40 USC

§5104(e)(2)(G) were written as a savings clause saying that 40 USC §5104(e)(2)(d)-


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(f) or other rules of crowd management applied regardless of whether conduct

constituted a First Amendment demonstration, that would be different. Bynum and

other courts have tried to address the overbreadth problem, effectively by reading

additional Constitutional restrictions to override the language or by other rules of

statutory construction. However, there is simply no reason for the vagueness and

First Amendment problems at all. There is not a single activity that poses a

security or disruption problem that cannot be stated in a different manner and that

does not focus solely on First Amendment modes of conduct. A proper statutory

formulation simply need not highlight First Amendment modes as the crime. 40

USC §5104(e)(2)(d)-(f) are obvious examples of this, but the courts have noted the

same points in various ways. It should not matter whether a group of students are

disruptive but have no intent to “demonstrate.” The Capitol Police or whoever else

is responsible for groups and individuals walking in the Capitol Buildings can limit

the size of groups, the length of stay in any location, the location of passage, the

volume of noise, and whether potentially dangerous items are carried, all without

respect to First Amendment terms and modes of expression. Indeed, many First

Amendment activities occur in the hallways, including lobbying and reporting.

People can be in these buildings for many purposes and there are no easy

definitions.


      2. 40 USC §5104(e)(2)(G) Does Not Survive Muster Because It Is Overbroad
         Under the First Amendment and Overbroad and Unduly Vague Under the
         Fifth Amendment




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      First, a law is unconstitutionally vague when “it fails to give ordinary people

fair notice of the conduct it punishes, or [is] so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 576 U.S. 591, 595 (2015). As stated in

Johnson:

      [O]ur holdings squarely contradict the theory that a vague provision is
      constitutional merely because there is some conduct that clearly falls within
      the provision's grasp. For instance, we have deemed a law prohibiting grocers
      from charging an "unjust or unreasonable rate" void for vagueness—even
      though charging someone a thousand dollars for a pound of sugar would
      surely be unjust and unreasonable. L. Cohen Grocery Co., 255 U.S. at 89, 41
      S.Ct 298. We have similarly deemed void for vagueness a law prohibiting
      people on sidewalks from "conduct[ing] themselves in a manner annoying to
      persons passing by"—even though spitting in someone's face would surely be
      annoying. Coates v. Cincinnati, 402 U.S. 611, 91 S.Ct. 1686, 29 L.Ed. 2d 214
      (1971). These decisions refute any suggestion that the existence of some
      obviously risky crimes establishes the residual clause's constitutionality.

As stated in N.A.A.C.P. v. Button, 371 U.S. 415, 83 S. Ct. 328 (1963):

      If the line drawn by the decree between the permitted and prohibited
      activities of the NAACP, its members and lawyers is an ambiguous one, we
      will not presume that the statute curtails constitutionally protected activity
      as little as possible. For standards of permissible statutory vagueness are
      strict in the area of free expression. See Smith v. California, 361 U.S. 147,
      151; Winters v. New York, 333 U.S. 507, 509-510, 517-518; Herndon v. Lowry,
      301 U.S. 242; Stromberg v. California, 283 U.S. 359; United States v. C.I.O.,
      335 U.S. 106, 142 (Rutledge, J., concurring). N.A.A.C.P. at 432.


      As discussed above, two court decisions in Bynum and Lederman struck down

attempts to provide regulations to provide guidance regarding 40 USC

§5104(e)(2)(G). In other words, two sets of proposed regulations failed

Constitutional muster because a board could not properly draw the line between

protected and not protected conduct under Due Process and the First Amendment.

Again, it is important to understand that 40 USC §5104(e)(2)(G) does not require

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illegal entry to the Capitol as an element. On its own terms to “parade,

demonstrate, or picket” can draw criminal sanctions under the provision, regardless

of how a party entered. Yet, as discussed above, people often go to the Capitol as

part of their day and broader range of activities. Sometimes, these activities

highlight or concern political causes or issues. They may all wear the same political

messages on their t-shirts. They may all walk together in groups. These points

should not provide for a criminal violation under the Constitution.


         “An overbroad statute "sweeps within its scope a wide range of both protected

and non-protected expressive activity." Hobbs v. Thompson, 448 F.2d 456, 460 (5th

Cir. 1971).” Commission for Lawyer Discipline v. Benton, 980 S.W.2d 425, 435 (Tex.

1998).


         As stated in Hobbs:


         Lack of fair warning to actors or lack of adequate standards to guide
         enforcers also may lead to a "chill" on privileged activity. A person
         contemplating action who might be covered by a vague statute is left in doubt
         as to whether he is covered by the statute and, if so, whether his claim of
         privilege will be upheld. [Citations omitted]. Hobbs at 460-461.
         As further stated in Hobbs:

         The overbreadth doctrine, therefore, focuses directly on the need for precision
         in legislative draftmanship to avoid conflict with First Amendment rights.
         Even though the interests a statute promotes may justify some infringement
         upon First Amendment rights, the overbreadth doctrine condemns those
         means to that legitimate end which comprehend too broad an incursion upon
         the realm of First Amendment activity. Where a law is substantially
         overbroad, in that it sweeps within its scope a wide range of both protected
         and non-protected expressive activity, and where no "readily apparent
         construction suggests itself as a vehicle for rehabilitating the statute in a
         single [proceeding]," Hobbs at 460.


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      As stated by the Supreme Court in Smith v. Goguen, 415 U.S. 566, 94 S. Ct.
1242 (1974):

      [The doctrine of due process and vagueness] requires legislatures to set
      reasonably clear guidelines for law enforcement officials and triers of fact in
      order to prevent “arbitrary and discriminatory enforcement.” [footnote
      omitted]. Where a statute’s literal scope, unaided by a narrowing state court
      interpretation, is capable of reaching expression sheltered by the First
      Amendment, the doctrine demands a greater degree of specificity than in
      other contexts. [footnote omitted] Id. at 573.

      The overbreadth concerns date back to the legislative history. During a

statutory revision in 1967, Representative O’Neal stated, “I am a little bit disturbed

about the language…wherein the proposed legislation, if adopted, would make it a

violation to parade, demonstrate, or picket within any of the Capitol buildings.”

Congressional Record-House (October 19, 1967) at 29389, available at

https://www.govinfo.gov/content/pkg/GPO-CRECB-1967-pt22/pdf/GPO-CRECB-

1967-pt22-2-1.pdf (last accessed June 1, 2022) (hereinafter “Congressional Record”).

Representative Bingham expressed concerns about overbreadth:

      I am deeply concerned about the broad scope, vague language, and possible
      interference with first amendment rights of the bill before us today. It was so
      hastily conceived and reported out of committee that no official views of the
      Justice Department or the District government were available. Moreover,
      there seems to be no disposition on the part of the bill’s supporters to accept
      clarifying amendments.


Congressional Record at 29394. He also commented on the law’s potential impact on

peaceful, quiet visitors, describing the law as “a case of using a shotgun to eliminate

at gnat.” Congressional Record at 29395. At the time of the 1967 revision,

Representative Edwards expressed that he believed the “parading, picketing, or

demonstrating language violated the First Amendment because it was not limited to


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disorderly or disruptive conduct. Congressional Record at 29392. Representative

Cramer stated that to add “with intent to disrupt the orderly conduct of official

business” would “gut [ ] the section,” suggesting Representative Cramer, at least,

did not care about the qualification. Id. at 29394.


      Here the range of possible actions that may fall under the umbrella of 40

USC §5104(e)(2)(G) is formless mix that includes actions protected under the First

Amendment. What if someone broadcasts from his or her smart phone and

criticizes the government on that broadcast? That action poses no security issue yet

could arguably be viewed as “demonstrating”. Or is that reporting? If people

gather in the Capitol to celebrate a political victory is that a demonstration or

parade? What if people walked in a group carrying signs in a hallway. How is this a

different security or operational risk for Congress? Groups of students and others

may walk in single or double file all where tee-shirts celebrating America or a

school. Is that a “parade?” Again, the Capitol Police and those in charge of security

and visitors can restrict areas, size of groups, duration of stay, volume, and items

that might pose a risk, all without referring to whether the conduct is also a First

Amendment mode of conduct like a demonstration. People commonly communicate

political ideas in the Capitol Buildings and that expression is protected under First

Amendment.




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      The recent opinion of U.S. District Judge Colleen Kollar-Kotelly, shows the

immediacy and importance of the issues Mr. Vo raises in the facial challenge. The

opinion states:


      Defendant primarily argues that because he was “recording” as a
      “videographer,” he was not “parading or “demonstrating.” The two, however,
      are not mutually exclusive. In truth, Defendant acted more as a social media
      influencer might, frequently urging his followers to “share, share,
      share.”[citation omitted] Sharing, Rivera may have hoped, could have helped
      him “get [his][addition in original] name out there,” one of Rivera’s stated
      reasons for going to the Capitol on January 6, 2021. [citation omitted]. Indeed
      just before he joined the crowd, he was primarily concerned that no one
      appeared to be watching his Facebook Live [citation omitted]

As noted above, camera’s, smart phones and recording are all allowed in the Capitol

Buildings in most places. So, would the relationship to social media turn recording

and commenting on a smart phone into conduct that is “demonstrating?” This was

apparently relevant to one U.S. district court judge.


      The Rivera opinion’s use of Brown v. Louisiana 383 U.S. 131 (1966) and

Clark v. Cmty for Creative Non-Violence, 468 U.S. 288, 293 (1984) is revealing of the

Constitutional problem. The opinion cites to Brown as evidence that the term

“demonstrating” for purposes of a criminal statute includes the right to “protest by

silent and reproachful presence” citing Brown at 142. Opinion at footnote 16.

However, Brown, and the Constitution demand the opposite result. Brown is

highlighting that protest by silent reproachful presence is constitutionally protected

under the First Amendment. On that basis, the Court overturned the conviction.

Indeed, the Court in Brown stated:



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      Petitioners' conduct was considerably less disruptive than in any of the
      preceding three situations in which this Court invalidated convictions under
      the same Louisiana statute or its predecessor, Garner v. Louisiana, 368 U.S.
      157; Taylor v. Louisiana, 370 U.S. 154; and Cox v. Louisiana, 379 U.S. 536.
      Pp. 133-135, 139-140. Brown at 132.

The Rivera opinion shows the direct problem. The broad and ambiguous definition

of “demonstration” is synonymous with the term that is Constitutionally protected

and provides no other qualifier other than the mens rea requirements. Similarly,

The Rivera opinion claims at footnote 16 that mere presence within a

demonstration, is itself demonstrating (citing to Clark at 293). Clark was

suggesting the breadth of Constitutional protection:

      We need not differ with the view of the Court of Appeals that overnight
      sleeping in connection with the demonstration is expressive conduct protected
      to some extent by the First Amendment. We assume for present purposes,
      but do not decide, that such is the case.

The Rivera opinion equates the breadth of the criminal actus reus in 40 USC

§5104(e)(2)(G) to the breadth of the Constitutional protection. A peaceful

demonstration, meaning complaining in a smartphone to an audience not at the

Capitol, somehow becomes a criminal violation. There is nothing in the statute to

save anyone from the text of 40 USC §5104(e)(2)(G) which a violation of the First

and Fifth Amendments. Congress has an obligation to speak in the actual terms

that identify disruptive conduct not First Amendment terms which can include

orderly and peaceful expression.

      3. 40 USC §5104(e)(2)(G) Discriminates Against Citizens Versus
         Congressional Employees and Is, In Certain Ways, Not Neutral by
         Singling Out Modes of First Amendment Expression




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      40 USC §5104(e)(2)(G) is not neutral in certain respects. First, the exception

for Congressional employees and members further provides such employees and

members immunity from criminal sanctions from the same expressive conduct that

would be a threat to ordinary citizens. Indeed, a disorderly demonstration by

Congressional employees, presumably authorized by their employing Congressman

is immune from penalties under 40 USC §5104(e)(2) entirely. Demonstrations are

not as likely to be pro-government and neither are pickets as a celebration or press

conference in the capitol. The statutory language does not limit ceremonies, press

conferences, filming or lobbying. The First Amendment mode of demonstration is

particularly useful to the general citizenry. Corporations and certain other interest

groups do not participate in demonstrations. Such groups meet to lobby—not

something as easily available to citizens with a simple message. Such groups can

also get Congressional staff and members to meet outside of Congress and, thus,

outside the restrictions of 40 USC §5104(e)(2)(G). Demonstrations can be a means

to communicate by media and to a broader group of people without getting

appointments. No one should be under any illusion that certain groups do not care

about the right do demonstrate because they do not need that mode of First

Amendment expression to petition the government for grievances and to provide

First Amendment communication.


                                  CONCLUSION

      For the forgoing reasons, Mr. Vo respectfully request that the Court enter an

order finding 40 U.S.C. § 5104(e)(2)(G) fails the First and Fifth Amendments of the


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U.S. Constitution for the reasons stated above and also dismissing Count IV of the

Information based on such a finding.


Dated: June 29, 2022                                Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 29, 2022, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system, which

will send a notice of electronic filing to the following CM/ECF participants. From

my review of the PACER/ECF docket records for this case that the following

attorneys will receive notice through the ECF system of the U.S. District Court for

the District of Columbia.

June 29, 2022




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